Case 8:22-cv-01327-KKM-TGW Document 7 Filed 06/14/22 Page 1 of 10 PageID 163




                   UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION

BOBBY SHED,

      Plaintiff,
v.                                                   Case No. 4:22-cv-100-AW-MJF

UNIVERSITY OF SOUTH FLORIDA
BOARD OF TRUSTEES, et al.,

      Defendants.
                                             /

                                       ORDER

      The Middle District of Florida is the most appropriate venue for this

employment-discrimination case. Indeed, this case has little or no relationship to the

Northern District of Florida. The undersigned, therefore, will direct the clerk of the

court to transfer this case to the Middle District of Florida.

                                   I. BACKGROUND

      The background set forth below is sometimes vague and ambiguous because

Plaintiff’s complaint oftentimes is vague and ambiguous. Plaintiff’s complaint is a

so-called “shotgun” pleading that suffers from various defects, such as the inclusion

of extraneous information unconnected to his claims. See Barmapov v. Amuial, 986

F.3d 1321, 1324 (11th Cir. 2021) (noting that a so-called “shotgun pleading”

includes a “complaint that violates Federal Rules of Civil Procedure 8(a)(2) or 10(b),

or both”).
                                     Page 1 of 10
Case 8:22-cv-01327-KKM-TGW Document 7 Filed 06/14/22 Page 2 of 10 PageID 164




      According to Plaintiff’s complaint, from 2017 through 2019, Plaintiff was a

student and graduate assistant at the University of South Florida (“USF”). Doc. 1

¶ 1. The USF is located in Hillsborough County, Florida. Hillsborough County is

part of the Middle District of Florida.

      On June 23, 2018, while Plaintiff was on the USF campus, the USF police

stopped Plaintiff. Id. ¶ 15. Plaintiff later filed a public records request with the USF

general counsel to obtain the video footage of the stop. The USF general counsel

provided Plaintiff with video footage. Plaintiff alleges that the video footage was

altered insofar as it contained background music and “key events” depicted in the

recording were “blurry.” Id.

      On August 10, 2018, Plaintiff filed a complaint regarding the footage and

alleged harassment by a USF police officer. Id ¶ 16. Plaintiff filed the complaint

with the USF’s Office for Diversity Inclusion and Equal Opportunity (“DIE-O”), the

USF’s Human Resources Office, and the USF’s Compliance Officer.

      On August 20, 2018, Plaintiff’s “funding was not available.” 1 Id. ¶ 17. The

USF informed Plaintiff that his registration would be “dropped” for “non-payment.”

Doc. 1 ¶ 17. The USF also purportedly did not pay a portion of Plaintiff’s health




1
  It appears that Plaintiff is referring to a stipend that he received while he
participated in the Health Policy Research Scholars Program. Doc. 1-1 at 20.
                                    Page 2 of 10
Case 8:22-cv-01327-KKM-TGW Document 7 Filed 06/14/22 Page 3 of 10 PageID 165




insurance despite doing so in the past. Id. Although not explicit in Plaintiff’s

complaint, it appears that Plaintiff eventually resolved these issues. Id. ¶ 23.

      On January 11, 2019, Plaintiff met with USF faculty members—Dean Moez

Limayem, Associate Dean Jacqueline Reck, Professor Jianping Qi, and Professor

Ninon Sutton—regarding the alleged police harassment, the video footage, and the

delay in Plaintiff’s funding. Id. ¶ 18. During the meeting, Defendants purportedly

acknowledged a delay in the funding. Id.

      On July 8, 2019, Plaintiff discovered that the USF did not send documentation

required for his funding.2 Doc. 1 ¶ 19. After Plaintiff raised this issue to the graduate

dean’s office, on August 20, 2019, Associate Dean Jacqueline Reck provided

Plaintiff with a financial report that indicated when Plaintiff received funding and

the amount he received. Plaintiff asserts that the financial report contained false

information Id. ¶ 20.

      On August 21, 2019, Plaintiff ceased being a research assistant and instead

became a teaching assistant. Id. ¶ 21. Plaintiff asserts that this change resulted in “an

unreasonable amount of work that exceeded his contracted 8.64 hours per week.” Id.

      On September 1, 2019, Plaintiff filed a formal report regarding retaliation by

USF officials. Doc. 1 ¶ 22. Shortly thereafter, Professor Murrat Munkin and Plaintiff



2
  Plaintiff’s complaint does not indicate whether this was a continued failure to
process his financial aid request or a second incident of the same nature.
                                     Page 3 of 10
Case 8:22-cv-01327-KKM-TGW Document 7 Filed 06/14/22 Page 4 of 10 PageID 166




were discussing data that Plaintiff had collected regarding USF policing incidents.

Professor Munkin purportedly began making discriminatory comments regarding

minorities. Id.

      On December 2, 2019, Munkin allegedly denied Plaintiff’s approved

academic accommodations insofar as Munkin required Plaintiff to “take the final

exam in Econometrics II on the morning scheduled for class or receive a more

difficult [cumulative] make up final exam.” Id. ¶ 24; Doc. 1-1 at 46.

      On December 27, 2019, Plaintiff received a letter of dismissal. On January 24,

2020, Provost Dwayne Smith wrote to Assistant Dean Jacqueline Reck and Dean

Ruth Bahr that Plaintiff’s opportunity to challenge the dismissal expired on January

23, 2020, and that the dismissal was final. Doc. 1 ¶ 25. Plaintiff asserts that the USF

attenuated the appeal period in violation of the Fourteenth Amendment to the United

States Constitution.

      On March 6, 2020, Plaintiff submitted several whistleblower reports and

grievances to various officials. First, he submitted a whistleblower report and

grievance to the USF DIE-O. Attorney Camille Blake, an employee of the USF’s

DIE-O, refused to acknowledge receipt of Plaintiff’s complaint. Later, she sent

Plaintiff an email documenting that she had deleted Plaintiff’s complaint. Id. ¶ 26.

      Plaintiff also submitted a whistleblower report and grievance to the Florida

Commission on Human Relations (“FCHR”). The FCHR issued a report, which

                                    Page 4 of 10
Case 8:22-cv-01327-KKM-TGW Document 7 Filed 06/14/22 Page 5 of 10 PageID 167




Plaintiff asserts contained “fictious characters” and “gross misrepresentations.” Id.

¶ 27. Additionally, Plaintiff submitted a whistleblower report and grievances to the

United States Department of Education Office of Civil Rights (“OCR”) and the

National Association for the Advancement of Colored People (“NAACP”). Plaintiff

alleges that the USF officials provided both the OCR and NAACP false and

misleading information.

      On March 7, 2022, Plaintiff, proceeding pro se, commenced this action

against ten Defendants: (1) USF Board of Trustees; (2) Dwayne Smith, Provost of

USF; (3) USF Attorney Camille Blake; (4) Deborah McCarthy, Head of USF’s

Office of Student Disability Services; (5) Dean Moez Limayem; (6) Dean Jaquelin

Reck; (7) Professor Jianping Qi; (8) Professor Ninon Sutton; (9) Professor Murat

Munkin; and (10) the FCHR.

      Plaintiff asserts the following claims:

   • Count I: “42 U.S.C. § 1981 – Retaliation”

   • Count II: “Title VII – Retaliation”;

   • County III: “Disability Discrimination – ADA Violation of Americans with

      Disabilities Act, as Amended 42 U.S.C.”;

   • Court IV: “ADA Title V Violation of Americans with Disabilities Act, Title

      V”;

   • Count V: “Section 1 (42 USC § 1983)”;

                                    Page 5 of 10
Case 8:22-cv-01327-KKM-TGW Document 7 Filed 06/14/22 Page 6 of 10 PageID 168




   • Count VI: “Section 2 (42 U.S.C. §1985)”; and

   • Count VII: “Section 6 (42 USC § 1986) – Failure to Use Authority to Prevent

      Violations of Civil Rights Acts.”

Doc. 1 at 14-19 (errors in original).

                                   II. DISCUSSION

      Venue in civil actions generally is governed by section 1391 of Title 28 of the

United States Code. But that provision specifically states that it applies unless

“otherwise provided by law.” Title VII has its own venue provision. It provides:

      [An action brought pursuant to Title VII] may be brought in any judicial
      district in the State in which the unlawful employment practice is
      alleged to have been committed, in the judicial district in which the
      employment records relevant to such practice are maintained and
      administered, or in the judicial district in which the aggrieved person
      would have worked but for the alleged unlawful employment practice.

42 U.S.C. § 2000e-5(f)(3). Title VII’s venue provision was “intended to be the

exclusive provisions for Title VII employment-discrimination actions and that the

more general provisions of § 1391 are not controlling in such cases.” Pinson v.

Rumsfeld, 192 F. App’x 811, 817 (11th Cir. 2006) (citing Stebbins v. State Farm

Mut. Auto. Ins. Co., 413 F.2d 1100, 1102-03 (D.C. Cir. 1969) (per curiam)).

      In his complaint, Plaintiff asserts that venue is proper in the Northern District

of Florida because “a substantial part of the events giving rise to the claim[s]”

occurred here. Doc. 1 at 4. Plaintiff, however, provides no facts to support this

conclusory assertion and, based on the other allegations in Plaintiff’s complaint, a
                                        Page 6 of 10
Case 8:22-cv-01327-KKM-TGW Document 7 Filed 06/14/22 Page 7 of 10 PageID 169




claim that a substantial portion of the events occurred in the Northern District is

patently false. 3

       “For the convenience of parties and witnesses, in the interest of justice, a

district court may transfer any civil action to any other district or division where it

might have been brought.” See 28 U.S.C. § 1404(a); see also id. § 1406(a) (“The

district court of a district in which is filed a case laying venue in the wrong division

or district shall dismiss, or if it be in the interest of justice, transfer such case to any

district or division in which it could have been brought.”); Ross v. Buckeye Cellulos

Corp., 980 F.2d 648, 655 & n.3 (11th Cir. 1993) (noting that 28 U.S.C. § 1404

applies to Title VII claims).

        The decision to transfer an action is left to the “sound discretion of the district

court.” Roofing & Sheeting Metal Servs. v. La Quinta Motor Inns, 689 F.2d 982, 985

(11th Cir. 1982). Such transfers may be made sua sponte by the district court. See

Mills v. Beech Aircraft Corp., 886 F.2d 758, 761 (5th Cir. 1989); Robinson v.

Madison, 752 F. Supp. 842, 846 (N.D. Ill. 1990) (“A court’s authority to transfer

cases under § 1404(a) does not depend upon the motion, stipulation or consent of

the parties to the litigation.”).




3
 If this case remained in this District, the District Court could sanction Plaintiff for
making an obviously false assertion. See Fed. R. Civ. P. 11(c).
                                     Page 7 of 10
Case 8:22-cv-01327-KKM-TGW Document 7 Filed 06/14/22 Page 8 of 10 PageID 170




       In this case, the following facts support transferring this case to the Middle

District of Florida:

    • the employment records relevant to the alleged unlawful employment

       practices likely are located at the USF’s campus in the Middle District of

       Florida;

    • absent the alleged discriminatory termination, Plaintiff would have worked at

       the USF campus in the Middle District of Florida;

    • the alleged adverse employment actions—including Plaintiff’s reassignment

       and termination—occurred in the Middle District of Florida;

    • all or nearly all of the relevant events occurred in the Middle District of

       Florida;

    • it is likely that all or nearly all of the witnesses reside in or near the Middle

       District of Florida;

    • it is likely that most of the Defendants reside in the Middle District of Florida;

    • Plaintiff currently resides in the Middle District of Florida4;


4
  Plaintiff predicts that he will move to the Northern District of Florida. But he does
not specify a date by which he will move to the Northern District, the reason he
allegedly will move to this District, or the location at which he will live in the
District. Plaintiff’s claim, therefore, is highly speculative and is insufficient to
overcome the weight of the factors which indicate that the Middle District of Florida
is the most appropriate venue for this civil action. See Prather v. Raymond Const.
Co., 570 F. Supp. 278, 284 (N.D. Ga. 1983) (noting that when deciding whether to

                                     Page 8 of 10
Case 8:22-cv-01327-KKM-TGW Document 7 Filed 06/14/22 Page 9 of 10 PageID 171




   • litigating this case in the Middle District of Florida would afford the parties

       greater access to the source of proof;

   • litigating the case in the Middle District of Florida would facilitate

       compulsory process for attendance of unwilling witnesses; and

   • litigating the case in the Middle District of Florida would minimize the

       expense of obtaining the attendance of witnesses at trial.

Based on these and other factors, the Middle District of Florida obviously is the most

appropriate venue for this civil action. See Piper Aircraft Co. v. Reyno, 454 U.S.

235, 241 n.6 (1981) (discussing the factors courts should consider); Ross, 980 F.2d

at 655 (holding that the district court did not abuse its discretion in transferring the

suit to the Middle District of Georgia when all employment records were located in

that district and most of the relevant witnesses likely resided in that district);

King/Morocco v. Audi of Grapevine, 2018 WL 11214829, at *2 (N.D. Ga. Nov. 2,

2018) (transferring the case to the Northern District of Texas because the records

relevant to Plaintiff’s employment-discrimination claim were located in that

district).




transfer a case to another district, a plaintiff’s choice of forum should be given great
weight, but only if he resides in the district of his chosen forum).

                                     Page 9 of 10
Case 8:22-cv-01327-KKM-TGW Document 7 Filed 06/14/22 Page 10 of 10 PageID 172




                                      III. CONCLUSION

       Because the Middle District of Florida is the most appropriate venue for this

 civil action, it is ORDERED that the clerk of the court:

       1.     TRANSFER this case to the United States District Court for the Middle

 District of Florida; and

       2.     close this case file.

       SO ORDERED this 14th day of June, 2022.

                                            /s/ Michael J. Frank
                                            Michael J. Frank
                                            United States Magistrate Judge




                                       Page 10 of 10
